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 5
 6   Attorneys for Defendant
     NIMA FAZELI
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 9
                             IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
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12
13
     UNITED STATES OF AMERICA,                              NO.: 3:20-mj-71049 MAG
14
            Plaintiff,                                      STIPULATION AND [PROPOSED]
15                                                          ORDER RE TRAVEL
16          vs.

17   NIMA FAZELI,

18          Defendant.
19
20
            The parties hereby stipulate that Nima Fazeli be permitted to travel to New York, New
21
     York, on December 24, 2021 to stay with his sister and return to his home December 29, 2021.
22
            Undersigned counsel has conferred with the United States Pre-Trial Services Officers
23
     assigned to this matter both in this District and in the Middle District of Florida. These Officers
24
     have no objection to this request given that Mr. Fazeli has been fully compliant with conditions
25
     of release and provided that Mr. Fazeli provides his itinerary to the Pre-Trial Officer in the
26
     Middle District of Florida in advance of travel.
27
     ///
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                                                        1
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 1          IT IS SO STIPULATED.
 2
     DATED: December 14, 2021                      Respectfully submitted,
 3
                                                   STEPHANIE M. HINDS
 4                                                 ACTING UNITED STATES ATTORNEY
                                                   United States Attorney
 5
                                                   /s/
 6                                                 ________________________________________
 7                                                 ANDREW DAWSON
                                                   Assistant United States Attorney
 8
 9                                                 /s/
                                                   ________________________________________
10                                                 MARTIN A. SABELLI
                                                   Attorneys for Defendant
11                                                 NIMA FAZELI
12
13
                                          [PROPOSED] ORDER
14
15          For the reasons stated above, Nima Fazeli will be permitted to travel to New York, New

16   York on December 24, 2021 to stay with his sister and return to his home December 29, 2021.

17   Mr. Fazeli shall provide his itinerary to the Pre-Trial Officer in the Middle District of Florida in

18   advance of travel

19
            IT IS SO ORDERED.
20
21   Dated: December ____, 2021                    _________________________________
22                                                 THE HONORABLE THOMAS S. HIXSON
                                                   United States Magistrate Judge
23
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